

John Quealy Irrevocable Life Ins. Trust v AXA Equit. Life Ins. Co. (2022 NY Slip Op 05933)





John Quealy Irrevocable Life Ins. Trust v AXA Equit. Life Ins. Co.


2022 NY Slip Op 05933


Decided on October 20, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 20, 2022

Before: Manzanet-Daniels, J.P., Oing, González, Scarpulla, Higgitt, JJ. 


Index No. 654340/18 Appeal No. 16224&amp;M-2974 Case No. 2021-00565 

[*1]John Quealy Irrevocable Life Insurance Trust etc., Plaintiff-Appellant,
vAXA Equitable Life Insurance Company, Defendant-Respondent.


Law Office of Boris Kogan, New York (Lawrence Kulak of counsel), for appellant.
Krantz &amp; Berman LLP, New York (Larry H. Krantz of counsel), for respondent.



Appeal from order, Supreme Court, New York County (Jennifer G. Schecter, J.), entered on or about February 3, 2021, which granted defendant's motion for summary judgment dismissing the complaint, unanimously dismissed, without costs, as abandoned.
Under the circumstances, the appeal is dismissed as abandoned (see John Quealy Irrevocable Life Ins. Trust v. AXA Equit. Life Ins. Co. , 2022 NY Slip Op 62292[U] [1st
Dept 2022]).
The Decision and Order of this Court entered herein on June 28, 2022
is hereby recalled and vacated (see  M-2974 decided simultaneously
herewith).
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 20, 2022








